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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

    UNITED STATES OF AMERICA

    v.                                                          Case No. 8:05-cr-527-T-23AEP
                                                                         8:08-cv-1086-T-23AEP
    BRYAN TIMOTHYLEENARD SMITH
                                                      /

                                                ORDER

           Smith’s motion to vacate under 28 U.S.C. § 2255 (Doc. 1) challenges the validity

    of his convictions for conspiracy to obstruct commerce, obstruction and attempted

    obstruction of commerce by robbery, and carrying a firearm.1 Smith serves 1,680

    months (140 years). The United States admits that the motion to vacate is timely.

    Response at 4 (Doc. 7). The motion to vacate lacks merit for all claims but two, which

    claims require an evidentiary hearing.

           Several robberies occurred in November and December, 2005, in Polk County,

    Florida, in which the two assailants wore bandanas, sweatshirts, and gloves. Smith and

    Jamail James Hogan (who is Smith's half-brother) were tried separately based on

    Bruton v. United States, 391 U.S. 123 (1968), and were convicted. In several of the

    robberies a gun was fired. A cashier died from a gun shot wound inflicted during one of

    the robberies. Smith admitted to driving Hogan to several of the robberies but denied

    knowing that a robbery was planned or that a robbery occurred. The defense argued




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             The firearm was carried and discharged by Smith's accomplice. Smith received an increased
    sentence because the firearm was discharged during a crime of violence.
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    that the evidence was insufficient to prove that Smith was the second robber. Smith

    asserts several claims of ineffective assistance of trial counsel.

                                                     FACTS2

            On November 26, 2005, Hogan and an accomplice committed both a carjacking

    with serious bodily harm at a motel and an armed robbery at a convenience store. The

    next day Hogan and an accomplice robbed two more convenience stores. A week later

    Hogan and an accomplice robbed a small grocery store, during which a cashier was

    shot in the chest and died three weeks later. The second cashier recognized Hogan,

    who was a frequent customer. Four eyewitnesses saw the two men exit the

    convenience store and flee in the "getaway car." Later that night sheriff's deputies

    arrested Hogan for speeding, and, during a search of vehicle, the police discovered a

    .380 automatic handgun, ammunition for that gun, a type of baton commonly carried by

    police officers, and several articles of clothing that matched the distinctive clothing the

    robbers wore during the last robbery. Later testing showed that the gun discovered in

    the car had fired each shot during each robbery. Additionally, testing showed that the

    shoes Hogan was wearing matched prints from the last robbery and another pair of

    shoes seized from Hogan's residence matched prints at two of the other robberies.

    Finally, a business card holder for the owner of the truck stolen during the carjacking

    and the truck's keys were found in Hogan's residence.




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              This summary of the facts derives from the circuit court’s decision (Doc. 160) on direct appeal in
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            While police were interviewing Hogan after his arrest, Smith called Hogan's

    cellular telephone.3 The police answered the call and, because the car Hogan was

    driving when he was arrested matched the description of the "getaway car" used earlier

    in that day's robbery and the car was registered to Smith, the officer asked Smith to

    come to the police station. Smith complied. The following facts are from the opinion on

    direct appeal (Doc. 160 at 9-10) (emphasis original):

            After he arrived and was advised of his rights, Smith first acknowledged
            that the car was his, and when he was informed that a gun had been
            found in the car, he responded that the gun belonged to his brother
            [(Hogan)]. Smith also recounted his actions earlier during the day, initially
            denying that he was at Bill's Market, despite that Detective Moran had told
            Smith that he (Moran) was investigating an incident at Bill's Market. When
            Moran told Smith that witnesses had seen his car parked on a dirt road
            next to Bill's Market, Smith recanted his original story and stated that he
            had driven Hogan and another man to Bill's Market. Smith claimed that he
            had stood next to the vehicle while Hogan and the other man went into the
            store. Smith told agents that Hogan and the other man subsequently
            came running out of the store and had jumped into the car. Smith said
            that he did not realize anything was wrong until one of the store
            employees came running out of the store. Moran also asked Smith about
            the other items found in the Cavalier, including a red "Dirty South"
            sweatshirt. Smith claimed that he had loaned it to the unknown man who
            had gone into Bill's Market with Hogan. Smith further stated that the baton
            or club found in the Cavalier was his father's and that he had taken the
            baton from the garage of his house and put it in his car sometime during
            the previous week.

            Smith further stated that he had driven Hogan and another man he knew
            as "Pooky" to the Speedy Food Mart robbery on November 26th, and the
            November 27th robberies at the Circle K and the Island Foods Store.
            Again, Smith claimed that he had not participated in any of the robberies.
            He said during all of the armed robberies, he had remained in the car and
            had not known that the robberies were taking place.



            3
              Smith faults counsel for not obtaining his cellular telephone records, which he contends would
    show that the police called him. In a post-conviction proceeding, the defendant bears the burden of proof.
    Because he fails to provide the records, Smith fails to show prejudice.

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            At trial, Smith offered no opening statement and presented no evidence,

    instead choosing to assert solely through cross-examination of three of the

    government's witnesses his theory of defense—that, although he drove the

    "getaway car" to some of the armed robberies, he remained in the car and did not

    know that his two companions were committing robbery. The jury found Smith guilty of

    the November 27th and December 2nd robberies—the ones in which he admittedly

    drove the "getaway car"—and not guilty of the carjacking and robbery on November

    26th.

                           INEFFECTIVE ASSISTANCE OF COUNSEL

            Smith claims ineffective assistance of counsel, a difficult claim to sustain. "[T]he

    cases in which habeas petitioners can properly prevail on the ground of ineffective

    assistance of counsel are few and far between." Waters v. Thomas, 46 F.3d 1506,

    1511 (11th Cir. 1995) (en banc) (quoting Rogers v. Zant, 13 F.3d 384, 386 (11th Cir.

    1994)). Strickland v. Washington, 466 U.S. 668 (1984), governs an ineffective

    assistance of counsel claim:

            The law regarding ineffective assistance of counsel claims is well settled
            and well documented. In Strickland v. Washington, 466 U.S. 668, 104
            S. Ct. 2052, 80 L. Ed. 2d 674 (1984), the Supreme Court set forth a
            two-part test for analyzing ineffective assistance of counsel claims.
            According to Strickland, first, the defendant must show that counsel's
            performance was deficient. This requires showing that counsel made
            errors so serious that counsel was not functioning as the "counsel"
            guaranteed the defendant by the Sixth Amendment. Second, the
            defendant must show that the deficient performance prejudiced the
            defense. This requires showing that counsel's errors were so serious as
            to deprive the defendant of a fair trial, a trial whose result is reliable.
            Strickland, 466 U.S. at 687, 104 S. Ct. 2052.

    Sims v. Singletary, 155 F.3d 1297, 1305 (11th Cir. 1998).


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           Strickland requires proof of both deficient performance and consequent

    prejudice. Strickland, 466 U.S. at 697 ("There is no reason for a court deciding an

    ineffective assistance claim . . . to address both components of the inquiry if the

    defendant makes an insufficient showing on one."); Sims, 155 F.3d at 1305 ("When

    applying Strickland, we are free to dispose of ineffectiveness claims on either of its two

    grounds."). "[C]ounsel is strongly presumed to have rendered adequate assistance and

    made all significant decisions in the exercise of reasonable professional judgment."

    Strickland, 466 U.S. at 690. "[A] court deciding an actual ineffectiveness claim must

    judge the reasonableness of counsel's challenged conduct on the facts of the particular

    case, viewed as of the time of counsel's conduct." 466 U.S. at 690. Strickland requires

    that "in light of all the circumstances, the identified acts or omissions were outside the

    wide range of professionally competent assistance." 466 U.S. at 690.

           Smith must demonstrate that counsel's error prejudiced the defense because

    "[a]n error by counsel, even if professionally unreasonable, does not warrant setting

    aside the judgment of a criminal proceeding if the error had no effect on the judgment."

    466 U.S. at 691-92. To meet this burden, Smith must show "a reasonable probability

    that, but for counsel's unprofessional errors, the result of the proceeding would have

    been different. A reasonable probability is a probability sufficient to undermine

    confidence in the outcome." 466 U.S. at 694.

           Strickland cautions that "strategic choices made after thorough investigation of

    law and facts relevant to plausible options are virtually unchallengeable; and strategic

    choices made after less than complete investigation are reasonable precisely to the



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    extent that reasonable professional judgments support the limitations on investigation."

    466 U.S. at 690-91. Smith cannot meet his burden merely by showing that the avenue

    chosen by counsel proved unsuccessful.

           The test has nothing to do with what the best lawyers would have done.
           Nor is the test even what most good lawyers would have done. We ask
           only whether some reasonable lawyer at the trial could have acted, in the
           circumstances, as defense counsel acted at trial . . . . We are not
           interested in grading lawyers' performances; we are interested in whether
           the adversarial process at trial, in fact, worked adequately.

    White v. Singletary, 972 F.2d 1218, 1220-21 (11th Cir. 1992). Accord Chandler v.

    United States, 218 F.3d 1305, 1313 (11th Cir. 2000) ("To state the obvious: the trial

    lawyers, in every case, could have done something more or something different. So,

    omissions are inevitable . . . . [T]he issue is not what is possible or 'what is prudent or

    appropriate, but only what is constitutionally compelled.'") (en banc) (quoting Burger v.

    Kemp, 483 U.S. 776, 794 (1987)). See also Jones v. Barnes, 463 U.S. 745, 751 (1983)

    (counsel has no duty to raise a frivolous claim).

                                           DISCUSSION

           Smith must prove that counsel's decisions were unreasonable. Roe v. Flores-

    Ortega, 528 U.S. 470, 481 (2000) ("The relevant question is not whether counsel's

    choices were strategic, but whether they were reasonable."); Minton v. Sec'y, Dep't of

    Corr., 271 Fed. App'x 916, 918 (11th Cir. 2008) ("The Supreme Court has 'declined to

    articulate specific guidelines for appropriate attorney conduct and instead has

    emphasized that the proper measure of attorney performance remains simply

    reasonableness under prevailing professional norms.'") (quoting Wiggins v. Smith, 539

    U.S. 510, 521 (2003). Counsel's trial strategy was to press the notion that Smith drove


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    the car and had no knowledge of the robberies. Defense counsel summarized this

    theory during his closing argument (Doc. 153 in 05-cr-527 at 57-58):

           It is reasonable to believe that the first time [Smith] knew what happened
           in the store was when Defective Moran showed him the photographs of
           the robbery inside the store. That is when he knew what happened. He
           may have been covering for his brother [(Hogan)] not knowing what
           happened early on when he showed up willingly. He wasn't arrested. No
           one came out and got him. He didn't try to escape. He didn't say, "I will
           send somebody else to pick my car up." He went there with his girlfriend's
           mother and his girlfriend. They go to police headquarters to get the car,
           assume he is going to pick up the car. . . . No consciousness of guilt. . . .

           If he had not gone and said, "I will talk to you later," or "I'll be there with
           my lawyer," then you have got to wonder why would he hesitate to do that.
           Instead you have to wonder why would he show up if he had five heinous
           crimes attached to him including an attempted murder? Why? Because
           he didn't know what happened inside the Speedy Food Mart. He didn't
           know what happened in the Island Food Store. He didn't know what
           happened at the Circle K. And he didn't know what happened in Bill's
           Market.

    Closing Argument:

           Smith asserts that defense counsel's closing argument was clear evidence of

    deficient performance because counsel (1) argued that Detective Moran testified

    truthfully, (2) revealed that Smith faced "other problems," and (3) asked that the jury

    "come back with a guilty verdict to all counts." (Doc. 153 in 05-cr-527 at 66) Early in his

    closing argument defense counsel attested to his belief that Smith was innocent. "Make

    no mistake about it, my position on this case is that my client is innocent of all charges."

    (Doc. 153 in 05-cr-527 at 53) The "come back with a guilty verdict" statement is an

    obvious mis-statement that caused Smith no prejudice because the jury (and everyone

    else) immediately disregarded the words (if heard at all) and the jury returned a "not

    guilty" verdict on several counts. Smith fails to show how Moran's testimony was not


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    truthful. After placing the "other problems" statement into proper context, the response

    (Doc. 7 at 13) correctly argues that "[c]ounsel was simply pointing out that the charges

    for which his client was on trial for were more significant than any potential state charge

    for wearing a disguise." Smith fails to show both deficient performance and prejudice.

    Motion to Sever:

           Smith faults counsel for not opposing the motion to sever. The indictment

    charged Smith and Hogan with several robberies. Both defendants provided a

    statement after Miranda warnings, in which each incriminated the other. The United

    States moved (Doc. 46 in 05-cr-527) to sever the trials based on Bruton because

    redacting both statements was not practicable. Hogan concurred. (Doc. 53 in 05-cr-

    527) During the hearing on the motion to sever Smith's counsel concurred that

    severance was proper. (Doc. 137 in 05-cr-527 at 4) The Magistrate Judge granted the

    motion to sever and stated, "Both parties agree with the government's application of

    Richardson [v. Marsh, 481 U.S. 200 (1987)], and neither object to the severance."

    (Doc. 65 at 2 in 05-cr-527) Although he now faults counsel for not opposing the motion

    to sever, Smith fails to provide a practical reason for opposing severance. Strickland

    requires proof of both deficient performance and prejudice. Smith fails to show he was

    prejudiced by counsel's allegedly deficient performance.

    Motion in Limine:

           Smith faults counsel for not moving to exclude testimony about the death of a

    store clerk at the last robbery. The video recording clearly shows that Hogan shot the

    victim through the chest and, after exiting the victim's back, the bullet struck an



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    advertisement sign, causing the sign to spin. Some of the distinctive clothing shown on

    the video recording was found inside Smith's car when Hogan was arrested. Hogan

    was charged with discharging a firearm during a crime of violence. Smith, as the

    accomplice, is responsible for Hogan's acts. The victim's death explained to the jury

    why that person was not testifying. Smith fails to show that trial counsel could have

    precluded testimony about the death.4

    Cross-Examinations:

            Smith faults counsel for not cross-examining each government witness.

    Counsel’s decision whether to—and how to—cross-examine is a strategic decision

    entitled to deference. Dorsey v. Chapman, 262 F.3d 1181 (11th Cir. 2001), cert. denied

    535 U.S. 1000 (2002). The defense was that Smith did not enter the stores. Because

    no witness could identify Smith as one of the robbers and because the defense strategy

    conceded the robberies occurred, cross-examination of each witness was unnecessary.

    Pre-Sentence Report:

            Neither party objected to the pre-sentence report at sentencing. In affirming

    Smith's sentence on appeal, the circuit court stated, "Where a defendant

    does not object to statements in the PSI, the district court may rely on those

    undisputed statements, even in the absence of supporting evidence. See United States

    v. Hedges, 175 F.3d 1312, 1315 (11th Cir. 1999)." (Doc. 160 in 05-cr-527 at 20)


            4
               The pre-sentence report represents that the medical examiner reported that the gunshot wound
    was the cause of death. Ineffective assistance of counsel requires proof of both deficient performance
    and prejudice. Assuming that Smith shows deficient performance because counsel failed to object to the
    lack of testimony about the cause of death, Smith cannot prove prejudice because the prosecution would
    have presented the medical examiner's testimony or introduced the medical examiner's report officially
    establishing the cause of death.

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     Smith's base offense level was 20, which was increased to 43 because "a victim was

     killed under circumstances that would constitute murder." Smith faults counsel for not

     objecting to the pre-sentence report and argues that, "[b]ut for counsel's failure to

     object, Mr. Smith would not have been sentenced to 140 years" (Doc. 1 at ¶71) because

     only the pre-sentence report states that the shooting caused the store clerk's death.

     Smith argues that no evidence adduced at trial established that the shooting was the

     cause of death and that "[f]or all that is known, [the store clerk] could have died by any

     means, but because counsel failed to object to this mere statement, Mr. Smith now

     faces the remainder of his life behind bars." (Doc. 1 at ¶69)

            Assuming that counsel's failure to object was deficient performance, Smith

     cannot show prejudice. Smith is not "behind bars for the remainder of his life" because

     of counsel's lack of an objection. The pre-sentence report states, "According to the

     medical examiner, [the store clerk] died as a result of the gun shot." By not objecting,

     counsel only alleviated the need for the medical examiner's testimony. Smith submits

     no basis for believing that something other than the shooting killed the store clerk.

     Consequently, Smith's increased sentence is not attributable to trial counsel’s

     consenting to the pre-sentence report.

     Smith's Statements and Counsel's Failure to Investigate:

            Smith faults counsel for not moving to suppress Smith's statements to Detective

     Moran. According to Detective Moran's testimony, Smith waived his right to remain

     silent, signed a Miranda waiver, and voluntarily talked. Smith now claims that he

     advised trial counsel that the officers coerced him into admitting his involvement. Smith



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     also faults trial counsel for not investigating certain alibi witnesses. An evidentiary

     hearing is necessary to determine what Smith advised his counsel.

             Accordingly, each of Smith's allegations5 is rejected except his claims that

     counsel rendered ineffective assistance by not (1) moving to suppress Smith's

     statements and (2) investigating Smith's alibi claim. Smith's motion (Doc. 11) for an

     evidentiary hearing is GRANTED. Pursuant to 28 U.S.C. § 636 and Local Rule 6.01(b),

     the motion to vacate is REFERRED to the United States Magistrate Judge to both

     conduct an evidentiary hearing and file a report recommending a ruling on the

     remainder of Smith's motion to vacate. The report shall include proposed findings of

     fact and conclusions of law.

             ORDERED in Tampa, Florida, on July 20, 2011.




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                Smith also faults counsel for not requesting an expert witness or objecting to the jury
     instructions. Smith fails to develop either conclusory allegation. Consequently, each allegation is
     insufficient.

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